                                Case 8-12-76143-ast                                 Doc 10      Filed 11/01/12       Entered 11/01/12 12:32:53


 B6A (Official     Form 6A) (12/07)




   In re             Robert 0 Villano                                                                                             Case No.                                            _
                                                                                                        Debtor

                                                                           SCHEDULE A - REAL PROPERTY
         Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor bolds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community Own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."                                 "
         Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases .
       • If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. Ifno entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as E:<-empt.

                                                                                                                     Husband,            Current Value of
                                                                                             Nature of Debtor's        Wife,            Debtor's Interest in
                     Description and Location of Property                                                                                Property, without        Amount of
                                                                                             Interest in Property     Joint, or                                  Secured Claim
                                                                                                                    Community         Deducting any Secured
                                                                                                                                       Claim or Exemption

A one family house owned in fee simple                                                   Fee simple                      J                    1,100,000.00            1,365,000.00
Location: 15 The Mast, East Islip NY




                                                                                                                     Sub-Total>              1,100,000.00       (Total of this page)

                                                                                                                             Total>          1,100,000.00
 o continuation
---.                           sheets attached to the Schedule of Real Property
                                                                                                                     (Report also on Summary of Schedules)
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                                Case 8-12-76143-ast                               Doc 10      Filed 11/01/12          Entered 11/01/12 12:32:53


 B6B (Official      Form 6B) (12107)




   In re              Robert D Villano                                                                                            Case No.                   --                           _
                                                                                                    Debtor


                                                                 SCHEDULE B ..;PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor ofwhatev€r kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None.'~ If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or ajoint
petition is filed, state the amount of any exemptions claimed only in Schedule C • Property Claimed as Exempt.
     Do not list interests in executory contracts and unexpire<lleases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minpr child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 1I U.S.c. ~112 and Fed. R. Bankr. P. 1007(m).
                                                                       N                                                                  Husband,            Current Value of
                      Type of Property                                 o                 Description' and Location of Property             Wife,        Debtor's Interest in Property,
                                                                       N                                                                   Joint,. or      without Deducting any
                                                                       E                                                                 Community      Secured Claim or Exemption

 I.     Cash on hand                                                   x
 2.    Checking, savings or other financial                                Chase Checking Acct                                                J                              349.00
       accounts, certificates of deposit, or
       $hares in banks, savings and loan,
       thrift, building and loan, and
       homestead associations, or credit
       unions, brokerage houses, or
       cooperatives.

 3.     Security deposits with public                                  X
        utilities, telephone companies,
        landlords, and others.

 4.     Household goods and furnishings,                                   Stove, micrawave, refrigerator, dishwasher,dryer,                  J                           4,425.00
        including audio, video, and                                        gas logs, vacuum ,barbeque grill, washer, blender,
        computer equipment.                                                Iron, toaster, mixer, coffee maker, dehumidifier,
                                                                           hand vacuum, 3 televisions, vcr/dvd, computer, 3
                                                                           telephones, alarm clock, 2 clocks, kitchen table,
                                                                           kitchen chairs, dinnerware/ishes, floatware,
                                                                           potspayns, knives,glassware, cooking ware,
                                                                           utensils,diningroom table, dining room chairs, ,
                                                                           buffet, couch, loves eat, coffee table, den couch,
                                                                           den loveseat, bedroom 1 inght Stand, bedroom 1
                                                                           chest of drawers,.bedroom 1bedframe, bedroom 1
                                                                           mattress, bedroom.1 armoire; bedroom 2 chest of
                                                                           drawers, bedroom 2 bedframe, bedroom 2 dresser,
                                                                           bedroom 3 bedframe, bedroom 3 mattress,
                                                                           bedroom 3 dresser, 4 lamps, 3 mirrors, 4 bath mats,
                                                                           4 laundry baskets, 5 brooms/mops, 10 pieces of
                                                                           luggage, christmas tree, 3 vases 5 pictures, 5 rugs .
                                                                           ironing boaurd, linens, patio furniture, 8 patio
                                                                           chai~sm 5 hand tools, 2'garden hoses, leaf blower.

 5.     Books, pictures and other art                                      bOOks,decorative pictures                                          J                              100.00
        objects, antiques, stamp, coin,
        record, tape, compact disc, and
        other collections or collectibles.

 6.     Wearing apparel.                                                   pants, shirts, shoes, coats, suits, overcoats                      H                        . 1,000.00
                                                                           (winter), socks,


                                                                                                                                              Sub-Total>               5,874.00
                                                                                                                                 (Total of this page)

_3_ continuation sheets attached to the Schedule of Personal Property

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                                Case 8-12-76143-ast                                 Doc 10      Filed 11/01/12        Entered 11/01/12 12:32:53


 B6B (Official     Form 6B) (12/07) - Cont.




                                                                                                                                  Case No.                                                  _
   In re              Robert D Villano
                                                                                                         Debtor

                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                                              (Continuation Sheet)

                                                                        N                                                                 Husband,                Current Value of
                     Type of Property                                   a                 Description and Location of Property
                                                                                                                                          . Wife,          Debtor's Interest in Property,
                                                                        N                                                                  Joint, or       . without Deducting any
                                                                        E                                                                Community         Secured Claim or Exemption

  7.        Furs and jewelry.                                               3 watches, 1ring                                                                                 1,700.00

  8.        Firearms and sports, photographic,                              camera, golf clubs, skis, bicycle, exercise                                                      1,400.00
            and other hobby equipment.                                      equipment, stair stepper,treadmill

  9.        Interests in insurance policies.                                Homeowners       Insurance                                                                    .Unknown
            Name insurance company of each
            policy and itemize surrender or
            refund value of each.

  10. Annuities. Itemize and name each                                  X
      issuer.

  II.       Interests in an education IRA as                            X
            defined in 26 U.S.c. ~ 530(b)(1) or
            under a qualified State tuition plan
            as defined in 26 U.S.C. ~ 529(b)(1).
            Give particulars. (File separately the
            record(s) of any such interest(s).
            II U.S.c. ~ 521(c).)

  12. Interests in IRA, ERISA, Keogh, or                                    Simple IRA First Midwest Securties       400 W. Main               H                           35,000.00
      other pension or profit sharing                                       Street Bsbylon, NY
      plans. Give particulars.
                                                                            401K                                                                                           35,000.00
  13. Stock and interests in incorporated                                   Ros~1Ii Moving & Storage LLC holer of all shares                                                       0.00
      imd unincorporated businesses.                                        Location: 260 Moffitt Blvd Islip. NY
       Itemize.
                                                                            Storage City Corp         sole holder of all shares                                                    0.00
                                                                            260 Moffitt Blvd, Islip, NY

  14. Interests in partnerships or joint                               X
      ventures. Itemize.

  15. Government and corporate bonds                                   X
      and other negotiable and
      nonnegotiable instruments.

  16. Accounts receivable.                                             X

  17. Alimony, maintenance, support, and                               X
      property settlements to which the
      debtor is or may be entitled. Give
      particulars.

 18. Other liquidated debts owed to debtor                             X
     including tax refunds. Give particulars.




                                                                                                                                              Sub-Total>                73,100.00
                                                                                                                                 (Total of this page)
Sheet_1_     of_3_     continuation sheets attached
to the Schedule of Personal Property

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                             Case 8-12-76143-ast                             Doc 10     Filed 11/01/12         Entered 11/01/12 12:32:53


 B6B (Official    Form 6B) (12/07) - Coot.




   In re            Robert 0 Villano                                                                                        Case No.                                               _

                                                                                               Debtor

                                                              SCHEDULEB-PERSONALPROPERTY
                                                                                      (Continuation Sheet)

                                                                 N                                                                  Husband,           Current Value of
                   Type of Property                              o                Description and Location   of Property             Wife,       Debtor's Interest in Property,
                                                                 N                                                                   Joint, or      without Deducting any
                                                                 E                                                                 Community     Secured Claim or Exemption

 19. Equitable or future interests, life.
     estates, and rights or powers
     exercisable for the benefit of the
     debtor other than those listed in
     Schedule A - Real Property.

 20. Contingent and noncontingent                                    !/4 Interest in Mother's home                                      c                        20,000.00
     interests in estate of a decedent.
     death benefit plan, life insurance
     policy, or trust.

 21. Other contingent and unliquidated                           x
     &laims of every nature, including
     tax refunds, counterclaims of the
     debtor, and rights to setoff claims.
     Give estimated value of each.

 22. Patents, copyrights, and other                              x
     intellectual property. Give
     particulars.

 23. Licenses, franchises, and other                             x
     general intangibles. Give
     particulars.

 24. Customer lists or other compilations                        x
     containing personally identifiable
     information (as defined in II U.S.c.
     ~ 101(41A)) provided to the debtor
     by individuals in connection with
     obtaining a product or service from
     the debtor primarily for personal,
     family, or household purposes.

 25. Automobiles, trucks, trailers, and                          x
     other vehicles and accessories.

 26. Boats, motors, and accessories.                             x
 27. Aircraft and accessories.                                   x
       .
 28. Office equipment. furnishings, and                          x
     supplies.

 29. Machinery, fixtures, equipment, and                         x
     supplies used in business.

 30. Inventory.                                                  x
 31. Animals.                                                        200g                                                               J                            250.00


                                                                                                                                        Sub-Total>            20,250.00
                                                                                                                           (Total of this page)

Sheet   2    of _3_ continuation sheets attached
to the Schedule of Personal Property.

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                              Case 8-12-76143-ast                                 Doc 10     Filed 11/01/12          Entered 11/01/12 12:32:53


B6B (Official Form 6B) (12/07) - Coot.




  In re             Robert 0 Villano                                                                                             Case No.                  --_-------
                                                                                                    Debtor

                                                                   SCHEDULE B - PERSONAL PROPERTY
                                                                                           (Continuation Sheet)

                                                                     N                                                                   Husband,            Current Value of
                    Type of Property                                 0                  Description 'and Location of Property             Wife,        Debtor's Interest in Property,
                                                                     N                                                                    Joint, or       without Deducting any
                                                                     E                                                                  Community      Secured Claim or Exemption

 32. Crops - growing or harvested. Give                               X
     particulars.

 33. Farming equipment and                                            X
     implements.

 34. Farm supplies, chemicals, and feed.                              X

 35. Other personal property of any kind                              X
     not already listed. Itemize.




                                                                                                                                             Sub-Total>                            0.00
                                                                                                                                (Total ofthis page)
                                                                                                                                       .          Total>                  99,224.00
Sheet 3      of _3_   continuation sheets attached
to the Schedule of Personal Property                                                                                                        (Report also on Summary of Schedules)

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                                Case 8-12-76143-ast                                 Doc 10         Filed 11/01/12           Entered 11/01/12 12:32:53


  B6C (DfficiaJ Form 6C) (12/07)




                                                                                                                                       Case No.                                            _
    In re             Robert D Villano
                                                                                                         Debtor


                                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
  Debtor claims the exemptions to which debtor is entitled under:                                                 •   Check if debtor claims a homestead exemption that exceeds
  (Check one box)                                                                                                     $136,875.
   o  II U.S.c. ~522(b)(2)
   • II U.S.C. ~522(b)(3)

                                                                                                 Speciry Law Providing                      Value of            Current Value of
                        Description of Property                                                                                             Claimed             Property Without
                                                                                                    Each Exemption
                                                                                                                                           Exemption          Deducting Exemption
Real Property
A one family house owned in fee simple                                                     NYCPLR ~ 5206(a)                                    150,000.00             1,100,000.00
Location: 15 The Mast, East Islip NY

Checking, Savings, or Other Financial Accounts,                                          Certificates of Deposit
Chase Checking Acct                                                                        NYCPLR ~ 5205(d)(2)                                     349.00                       349.00

Household Goods and Furnishings
Stove: microwave, refrigerator,                                                            NYCPLR ~ 5205(a)(5)'                                   4,425.00                   8,850.00
dishwasher,dryer,    gas logs, vacuum ,barbeque
grill, washer, blender, Iron, toaster, mixer,
coffee maker, dehumidifier, hand vacuum, 3
televisions, vcr/dvd, computer, 3 telephones,
alarm clock, 2 clocks, kitchen table, kitchen
 chairs, dinnerware/ishes, floatware, potspayns,
 knives,glassware, cooking ware,
 utensils,diningroom   table, dining room chairs, ,
 buffet, couch, loveseat, coffee table, den couch,
 den loveseat, bedroom 1 inght Stand, bedroom
 1 chest of drawers, bedroom 1 bedframe,
 bedroom 1 mattress, bedroom 1 armoire,
 bedroom 2 chest of drawers, bedroom 2
bedframe, bedroom 2 dresser, bedroom 3
bedframe, bedroom 3 mattress, bedroom 3
dresser, 4 lamps, 3 mirrors, 4 bathmats,.4
laundry baskets, 5 brooms/mops, 10 pieces of
luggage, christmas tree, 3 vases 5 pictures, 5
rugs ironing boaurd, linens, patio furniture, 8
patio chairsm 5 hand tools, 2 garden hoses, leaf
blower.

Furs and Jewelry
3 watches, 1ring                                                                           NYCPLR ~ 5205(a)(6)                                    1,700.00                  1,700.00

Firearms and Sports, Photographic and Other Hobby Equipment  .
camera, golf clubs, skis, bicycle, exercise      NYCPLR ~ 5205(a)                                                                                 1,400.00                  1,400.00
equipment, stair stepper,treadmill

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
Simple IRA First Midwest Securties 400 W.           Debtor & Creditor Law ~ 282(2)(e)                                                           35,000.00                 35,000.00
Main Street Bsbylon, NY                                          .

401K                                                                                       Debtor & Creditor Law ~ 282(2)(e)                    35,000.00                . 35,000.00




                                                                                                                             Total:           227,874.00              1,182,299.00
 _0_         continuation sheets attached to Schedule of Property Claimed as Exempt
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 B6D (Official Form 6D) (12/07)




  In re              Robert D Villano                                                                                                              Case No.            -----------
                                                                                                                     Debtor

                                          SCHEDULE D - CREDITORS HOLDING SECURED 'CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other "security interests.
       List creditors in alphabetical order to the extent practicable. Ifa minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, II U.S.c. g 112 and Fed. R. Bankr. P. I007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.                                                                               .
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)                            .
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "rotal(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
 o     Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

                                                                        C    Husband.    Wife, Joint, or Community                             C    U    0    AMOUNT OF
                CREDITOR'S NAME                                         0                                                                      0    N    I
                                                                        0    H               DATE CLAIM WAS INCURRED,                          N    L    s       CLAIM
             AND MAILING ADDRESS                                        E                                                                      T    I    p      WITHOUT                 UNSECURED
              INCLUDING ZIP CODE,                                       B   'w                  NATURE OF LIEN, AND                            I    Q    u                              PORTION, IF
                                                                        T    J                DESCRIPTION AND VALUE                            N    u    T
                                                                                                                                                               DEDUCTING
             AND ACCOUNT NUMBER                                         0                                                                      G    I    E      VALUE OF                   ANY
               (See instructions above.)                                R
                                                                             C                      OF PROPERTY                                E    0    0
                                                                                                  SUBJECT TO LIEN                                             COLLATERAL
                                                                                                                                               N    A
                                                                                                                                               T    T
Account No. !5 The Mast                                                          2012                                                               E
                                                                                                                                                    0

The Moorings                                                                     HOA Maitenance
clo Meltzer, Lippe, Goldstein
190 Willis Avenue                                                                 15 The Mast
Mineola, NY 11501
                                                                             -                                                                          X


                                                                                  Value $                                 1,200,000.00                             8,725.33                      8,725.33
Accou.nt No. 0063814131                                                          2006

Wells Fargo                                                                      Mortgage
PO Box 10335
Des Moines, IA 50306                                                           A one family house owned in fee simple
                                                                             H Location: 15 The Mast, East Islip NY                                     X


                                                                                  Value $                                 1,100,000.00                         1,365,000.00                  265,000.00
Account No.




                                                                                  Value $
Account No.




                                                                                  Value $

 0
       .    continuation sheets attached
                                                                                                                                            Subtotal
                                                                                                                                                              1,373,725.33                   273,725.33
--                                                                                                                                (Total of this page)

                                                                                                                                          Total                1,373,725.33                  273,725.33
                                                                                                                (Report on Summary of Schedules)

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                               Case 8-12-76143-ast                                     Doc 10         Filed 11/01/12               Entered 11/01/12 12:32:53


  B6E (Official Form 6E) (12107)




    In re            Robert 0 Villano                                                                                                           Case No.                                                      _
                                                                                                              Debtor


                            SCHEDULE E - CREDITORS                                            HOLDING UNSECURED PRIORITY                                               CLAIMS
             A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
       to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
       account number, if any, of all entities. holding priority claims against the debtor or the property ofthe debtor, as of the date of the filing of the petition. Use'a separate
       continuation sheet for each type of priority and label each with the type of priority.
             The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided ifthe debtor chooses to do
       so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
       Do not disclose the child's name. See, ] I U.S.c. 9112 and Fed. R. Bankr. P. 1007(m).                         .
             If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
       schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
       liable on each claim by placing an "H," "W," "J," or "C" in the columnlabeled        "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
       column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
       "Disputed." (You may need to place an "X" in more than one of these three columns.)
             Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
       "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
             Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
       liited on this Schedule E in the box labeled "Totals" on the last sheet of the completed sch<;dule. Individual debtors with primarily consumer debts report this total
       also on the Statistical Summary of Certain Liabilities and Related Data.
             Report the total of amounts!!2! entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
       priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
       total also on the Statistical Summary of Certain Liabilities and Related Data.

      o Check this box if debtor            has no creditors holding unsecured priority claims to report on this Schedule E.

      TYPES OF PRIORITY                      CLAIMS           (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

      o Domestic            support     obligations
          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
      of such a child, or a governmental ullit to whom such a domestic support claim has been assigned to the extent provided in I I U.S.C. 9 507(a)(I).

      o Extensions            of credit in an involuntary                case
           Claims arising in the ordinary course of the debtor's business or financial.affairs                   after the commencement     of the case but before the earlier of the appointment      of a
      trustee or the order for relief. ] I U.S.c. 9 507(a)(3).

      o Wages,         salaries, and commissions
          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifYing independent sales
      representatives up to $10,950* per person earned within ]80 days immediately preceding the filing of the original petition, orthe cessation of business, whichever
      occurred first, to the extent provided in I] U.S.C. 9507(a)(4).                                                                     .    .

      o Contributions             to employee benefit plans
          Money owed to employee benefit plans for services rendered within ] 80 days immediately preceding the filing ofthe original petition, or the cessation of business,
      whichever occurred first, to the extent provided in ]] U.S.C. 9 507(a)(5).

      o     Certain     farmers       and fishermen
            Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in I] U.S.C. 9 507(a)(6).

      [3 Deposits by individuals
          Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
      delivered or provided. ]] U.S.c. 9 507(a)(7) .

      •     Taxes and certain other debts owed to governmental                                units
            Taxes, customs duties, and penalties owing to federal, state, and local governmental                     units as set forth in ]] U.S.C. 9 507(a)(8).

      o Commitments               to maintain        the capital of an insured depository                  institution
         Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, orBoard                                 of Governors orthe Federal
      Reserve System, or their predecessors or successors, to maintain th.e capital of an insured depository institution. ]] U.S.C. 9 507 (a)(9).                             .

      o Claims         for death or personal              injury while debtor was intoxicated
          Claims for death or personal injury resulting from the operatioll of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
      another substance. I] U.S.c. 9507(a)(]0).




      * Amounts are subject to adjustment on April],                   20] 0, and every three years thereafter with respect to cases commenced          on or after the 'date of adjustment.

                                                                                          1           continuation sheets attached
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                               Case 8-12-76143-ast                                  Doc 10              Filed 11/01/12           Entered 11/01/12 12:32:53


 B6E (Official     Form 6E) (12/07) - Coot.




   In re             Robert D Villano                                                                                                          Case No.                                                 _
                                                                                                                    Debtor

                        SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                    (Continuation Sheet)

                                                                                                                                           Taxes and Certain Other Debts
                                                                                                                                            Owed to Governmental Units

                                                                                                                                                         TYPE OF PRIORITY

               CREDITOR'S NAME,
            AND MAILING ADDRESS
                                                                        C
                                                                        0
                                                                        0
                                                                             Husband,

                                                                             H
                                                                                        Wife, Joint, or Community                          C
                                                                                                                                           0
                                                                                                                                           N
                                                                                                                                                U
                                                                                                                                                N
                                                                                                                                                L
                                                                                                                                                     0
                                                                                                                                                     I
                                                                                                                                                     S
                                                                                                                                                                            AMOUNT NOT
                                                                                                                                                                            ENTITLED TO
                                                                                                                                                                                                    I
                                                                        E                 DATE CLAIM WAS INCURRED                          T    I    P .    AMOUNT          PRIORITY, IF ANY
             INCLUDING ZIP CODE,                                        B   w
                                                                                        AND CONSIDERA nON FOR CLAIM                        I    Q    u
                                                                        T                                                                            T      OF CLAIM
            AND ACCOUNT NUMBER                                          0
                                                                            J                                                              N    U
                                                                                                                                                                                         AMOUNT
                                                                                                                                           G    I    E
                (See instructions.)                                     R    C
                                                                                                                                           E    0    0
                                                                                                                                                                                     ENTITLED TO
                                                                                                                                           N    A                                        PRIORITY
                                                                                                                                           T    T
Account No.                                                                      March 2009                                                     E
                                                                                                                                                0

Metropolitan Transit Auth                                                        Restitution to City of New York
clo Suffolk County                                                                                                                                                          0.00                    I
                                                                            H


                                                                                                                                                               90,000.00              90,000.00
Account No.



                                                                                                                                                                                                    I
        .
Account No.



                                                                                                                                                                                                    I

Account No.




Account No.



                                                                                                                                                                                                    I
       .
Sheet_1 __ of 1       continuation sheets attached to                                                                                   Subtotal                            0.00                    I
Schedule of Creditors Holding Unsecured Priority Claims                                                                       (Total of this page)             90,000.00            .90,000.00
                                                                                                                                         Total                              0.00                    I
                                                                                                               (Report on Summary of Schedules)                90,000.00              90,000.00

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                               Case 8-12-76143-ast                                 Doc 10                Filed 11/01/12             Entered 11/01/12 12:32:53


 B6F (Official Form 6F) (12/07)




   In re            Robert D Villano                                                                                                      Case No.                                                    _
                                                                                                                   Debtor


                  SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date offiling of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. Ifa minor child is a creditor, state the child's initials and the name and address of the child's
                                                                                                                                              *
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, I I U.S.C. 112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules 0 and E. Ifall creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,'~ include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in' the column labeled "Unliquidated." Ifthe
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


 o     Check this box if debtor has no creditors holding unsec~red claims to report on this Schedule F.

                      CREDITOR'S NAME,                                                   C   Husband,   Wife, Joint, or Community                         C   U    0
                                                                                         0                                                                0   N    I'
                      MAILING ADDRESS                                                    0   H                                                            N   L    S
                    INCLUDING ZIP CODE,                                                  E                DATE CLAIM WAS INCURRED AND                     T   I    P
                                                                                             'W
                                                                                         B              CONSIDERATION FOR CLAIM. IF CLAIM                 1   Q    u
                   AND ACCOUNT NUMBER                                                    T   J                                                            N   u    T        AMOUNT OF CLAIM
                                                                                         0                IS SUBJECT TO SETOFF, SO STATE.                 G
                     (See instructions above.)                                               C                                                                1    E
                                                                                         R                                                                E   0    0
                                                                                                                                                          N   A
Account No. 82634293                                                                              Repairs                                                 T   T
                                                                                                                                                              E
                                                                                                                                                              0
B&B Repairs
clo William Sigegle & Assocs                                                                 H                                                                     X
7 Penn Plaza
New York, NY 10001
                                                                                                                                                                                       12,500.00
Account No.                                                                                       2006-2009

Black, Herman
c"o Virginia & Ambinder LLP                                                              X -                                                                       X
111 Broadway, Suite 1403
New York, NY 10006
                                                                                                                                                                                               0.00
Account No.                                                                                       2007
        .
Citibank, N.A.
                                                                                                  Credit

210 West Lexington Drive                                                                     -                                                                     X
Glendale, CA 91203


                                                                                                                                                                                     250,000.00
Account No.                                                                                       2009-2012
                                                                                                  Credit
Citicards
PO Box 182564                                                                                -                                                                     X
Columbus, OH 43218-2564


                                                                                                                                                                                       26,331.00

                                                                                                                                                       Subtotal
 2      continuation sheets attached                                                                                                                                                 288,831.00
                                                                                                                                             (Total of this page)




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  B6F (Official Form 6F) (12/07) - Cont.




   }n re             Robert 0 Villano                                                                                                      Case No.                                               _

                                                                                                                    Debtor

                   SCHEDULE F - CREDITORS HOLDING UNSECURED,NONPRIORITY                                                                                              CLAIMS
                                                                                                        (Continuation Sheet)




                                                                                         C   Husband,    Wife, Joint, or Community                         C   U     D
                       CREDITOR'S NAME,                                                  0                                                                 0   N     I
                       MAILING ADDRESS                                                   D   H   .                                                         N   L     S

                     INCLUDING ZIP CODE,
                                                                                         E
                                                                                             w             DATE CLAIM WAS INCURRED AND                     T   I     P
                                                                                         B
                                                                                                         CONSIDERA nON FOR CLAIM. IF CLAIM                 I   Q     u
                    AND ACCOUNT NUMBER                                                   T   J                                                             N   U   T     AMOUNT OF CLAIM
                                                                                         0                 IS SUBJECT TO SETOFF, SO STATE.                 G   I     E
                      (See instructions above.)                                          R
                                                                                             C
                                                                                                                                                           E   D     D
                                                                                                                                                           N   A
Account No.                                                                                      '1/15/2010                                                T   T
                                                                                                                                                               E
                                                                                                  Legal Services                                               D

Karol Hausman & Sosnik PC
600 Old Country Road                                                                         -                                                                     X
Garden City, NY 11530


                                                                                                                                                                                      2,000.00
Account No.                                                                     .                    2006-1009

Marshal, Ricky
c/o Virginia & Ambiner LLP                                                               X -                                                                       X
111 Broadway, Suite 1403
New York, NY 10006
                                                                                                                                                                                     Unknown
Account No.                                                                                          2006-2009           ,



McQuiller, Raleigh
c/o Virginia & Ambinder LLP                                                              X -                                                                       X
111 Broadway, Suite 1403
New York, NY 10006                                                                                                                                                            .
                                                                                                                                                                                     Unknown
                                                                                                               .

Account No. MRRF#611311                                                                          2010
                                                                                                 Medical Care
Southside Hospital
c/o Mullooly, Jeffrey, Rooney                                                                -                                                                     X
6851 Jericho Trnpke, Ste 220
Syosset, NY 11791-9036
                                                                                                                                                                                      1,400.00
Account No.                                                                                      2012
                                                                                                 Legal Services
Spirn & Spirn
150 Motor Parkway                                                                            -                                                                                                        .   "

Suite 401
Hauppauge, NY 11788
                                                                                                                                                                                      3,500.00

Sheet no. 1      of _2_ sheets attached to Schedule of                                                                                                  Subtotal
                                                                                                                                                                                      6,900.00.
Creditors Holding Unsecured Nonpriority Claims                                                                                                (Total of this page)




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                                Case 8-12-76143-ast                                     Doc 10              Filed 11/01/12              Entered 11/01/12 12:32:53


  B6F (Official    Form 6F) (12/07) - Coot.




    In re            Robert 0 Villano                                                                                                            Case No.                                               _
                                                                                                                     Debtor

                   SCHEDULE F -CREDITORS                                                     HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                         (Continuation Sheet)




                                                                                         C    Husband,    Wife, Joint, or Community                               C   U     0
                      CREDITOR'S NAME,                                                   0                                                                        0   N     I
                      MAILING ADDRESS                                                    0   H                                                                    N   L     s
                    INCLUDING ZIP CODE,                                                  E
                                                                                             W              DA TE CLAIM WAS INCURRED AND                          T   I     P
                                                                                         B                                                                        I   Q     u
                   AND ACCOUNT NUMBER                                                    T   J            CONSIDERA TION FOR CLAIM. IF CLAIM                      N   U     T
                                                                                         0                  IS SUBJECT TO SETOFF, SO STATE.                                     AMOUNT OF CLAIM
                     (See instructions above.)                                               C                                                                    G   I     E
                                                                                         R                                                                        E   0     0
                                                                                                                                                                  N   A
Account No. 121127                                                                                2005-2011                                                       T   T
                                                                                                                                                                      E
                                                                                                  Advertising                                                         0
Supermedia LLC fka Idea ric Med
c/o Maidenbaum & Assoc                                                                       .-                                                                             X
One Broadcast Plaza, Ste 218
Merrick, NY 11566

                                                                                                                                                                                         119,149.00
Account No. CEC 9443-10                                                                           2010
                                                                                                  Advertizing
Yellow Book Sales
c/o Goldman, Horowitz & Cherno                                                               -                                                                              X
47 Post Avenue
Westbury, NY 11590
                                                                                                                                                                                           13,923.00
Account No.




Accooot No.




Account No.




Sheet no.      2       of_2__         sheets attached to Schedule of                                                                                           Subtotal
c;reditors Holding Unsecured Nonpriority Claims                                                                                                                                         133,072.00
                                                                                                                                                     (Total of this page)
                                                                                                                                                                Total
                                                                                                                                      (Report on Summary of Schedules)                  428,803.00


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                               Case 8-12-76143-ast                                Doc 10   Filed 11/01/12       Entered 11/01/12 12:32:53


'B6G (Official Form 6G) (12107)




   In re            Robert 0 Villano                                                                                       Case No.                                              _
                                                                                               Debtor


                            SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
             Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
             of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and.
             complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases of contracts;
             state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
             disclose the child's name. See, I I U.S.C. ~ 112 and Fed ..R. Bankr. P. I007(m) .
             • Check this box if debtor has no executory contracts or unexpired leases.

                                                                                                 Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                                       State whether lease is for nonresidential real property.
                        of Other Parties to Lease or Contract                                           , State contract number of any government contract.




        o
     __         continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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                                Case 8-12-76143-ast                                 Doc 10   Filed 11/01/12    Entered 11/01/12 12:32:53


 B6H (Official Form 6H) (12/07)




   In re             Robert D Villano                                                                                   Case No.                                   _
                                                                                                 Debtor

                                                                                 SCHEDULE H - CODEBTORS
            Provide the information requested concerning any person or entity, other than a spouse in ajoint case, that is also liable on any debts listed
       by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
       commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
       Wisconsin) within the eight year period immediately preceding the commencement of the case, identifY the name of the debtor's spouse and of
       any former spouse who resides or resided with the debtor in the community property state, commonwealth,                or
                                                                                                                          territory. Include all names used
       by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
       state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
       disclose the child's name. See, I I U.S.c. ~ I J2 and Fed. R. Bankr. P. JO07(m).
       o    Check this box if debtor has no codebtors.
                      NAME AND ADDRESS OF CODEBTOR                                                   NAME AND ADDRESS OF CREDITOR

                      Robert D. Villano                                                              Marshal, Ricky
                      260 Moffit Blvd.                                                               c/o Virginia & Ambiner LLP
                      Islip, NY 11751                                                                111 Broadway, Suite 1403
                                                                                                     New York, NY 10006

                      Robert D. Villano                                                              McQuiller, Raleigh      .
                      260 Moffit Blvd.                                                               c/o Virginia & Ambinder LLP
                      New York, NY 10006                                                             111 Broadway, Suite 1403
                                                                                                     New York, NY 10006

                      Robert D. Villano                                                               Black, Herman
                      250 Moffit Blvd.                                                                c/o Virginia & Ambinder LLP
                      Islip, NY 11751                                                                 111 Broadway, Suite 1403
                                                                                                    . New York, NY 10006




         o
                 continuation sheets attached to Schedule of Codebtors
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                   Case 8-12-76143-ast                Doc 10       Filed 11/01/12            Entered 11/01/12 12:32:53


861 (Official Form 61) (12/07)


 Inre      Robert D Villano                                                                             Case No.
                                                                          Debtor(s)


                           SCHEDULE           I - CURRENT INCOME OF INDIVIDUAL                                 DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not ajoint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.

Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                            RELATlONSHIP(S):                                 AGE(S):
        Married                                 Daughter                                                  10

Emnlovment:                                               DEBTOR                                                    SPOUSE
Occupation
Name of Emolover
How long employed
Address of Employer

INCOME: (Estimate of average or projected monthly income at time case filed)                                     DEBTOR                   SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                             $             0.00       $               N/A
2. Estimate monthly overtime                                                                              $             0.00       $               N/A

3. SUBTOTAL                                                                                               $             0.00       $               N/A~
4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                 $             0.00       $               N/A
  .  b. Insurance
     c. Union dues
                                                                                                          $
                                                                                                          $
                                                                                                                        0.00
                                                                                                                        0.00
                                                                                                                                   $
                                                                                                                                   $
                                                                                                                                                   N/A
                                                                                                                                                   N/A
     d. Other (SpecifY):                                                                                  $             0.00       $               N/A
                                                                                                          $             0.00       $               N/A

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                         $             0.00       $
                                                                                                                                                   WAI
6. TOTAL NET MONTHLY TAKE HOME PAY                                                                        $             0.00       $               N/A
7. Regular income from operation of business or profession or farm (Attach detailed statement)            $             0.00       $               N/A
8. Income from real property                                                                              $             0.00       $           N/A
9. Interest and dividends                                                                                 $.            0.00       $           N/A
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                             $             0.00       $           N/A
11. Social security or government assistance
(SpecifY):                                                                                                $             0.00       $           N/A
                                                                                                          $             0.00       $           N/A
12. Pension or retirement income                                                                          $             0.00       $           N/A
13. Other monthly income
(SpecifY):           Misc Income from wife                                                                $          200.00        $           N/A
                                                                                                          $            0.00        $           N/A

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                        $          200.00        $           N/A
15. AVERAGE MONTHLY INCOME (Add aiTIounts shown on lines 6 and 14)                                        $          200.00        $           N/A
16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals froin line 15)                    $                200.00
                                                             (Report also on Summary of Schedules and, ifapplicable, on
                                                             Statistical Summary of Certain Liabilities and' Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                  Case 8-12-76143-ast            Doc 10       Filed 11/01/12          Entered 11/01/12 12:32:53


B6J (Official Form 6J) (12107)


 In re    Robert D Villano                                                                       Case No.
                                                                    Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES                                        OF INDIVIDUAL DEBTOR(S)
    . Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

•   Check this box if a joint petition is filed and debtor's spouse maintains a separate household.   Gomplete a separate schedule of
expenditures labeled "Spouse."
I. Rent or home mortgage payment (include lot rented for mobile home)                                           $               7,678.12
 a. Are real estate taxes included?                             Yes               No--L
 b. Is property insurance included?              .              Yes               No--L
2."Utilities:      a. Electricity and heating fuel                                                              $                   0.00
                   b. Water and sewer                                                                           $                  75.00
                   c. Telephone                                                                                 $                   0.00
                   d. Other                                                                                     $                   0.00
                                 --------------------------
3. Home maintenance (repairs and upkeep)                                                                        $                   0.00
4. Food                                                                                                         $                   0.00
5. Clothing                                                                                                     $                   0.00
6. Laundry and dry cleaning                                                                                     $                   0.00
7. Medical and dental expenses                                                                                  $                   0.00
8. Transportation (not including car payments)                                                                  $                   0.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                             $                   0.00
10. Charitable contributions                 .                                                                  $                   0.00
II. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                                   $                 175.00
                   b. Life      '                                                                               $                   0.00
                   c. Health                                                                                    $                   0.00
                   d. Auto                                                                                      $                   0.00
                   e. Other                                                                                     $                   0.00
                              --------------------------
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                      $                   0.00
13. Installment payments: (In chapter II, 12, and 13 cases, do not list payments to be included in the'
plan)
                   a. Auto                                                                                      $                   0.00
                   b. Other Metropolitan Transportation Dept.                                                   $               2,595.00
                   c. Other                                                                                     $                   0.00
                                 --------------------------
14. Alimony, maintenance, and support paid to others                                                            $                   0.00
15. Payments for support of additional dependents not living at your home                                       $                   0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                $                   0.00
17. Other                                                                                                       $                   0.00
    Other                                                                                                       $                   0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                        $              10,523.12 ~
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:                  .

20.   STATEMENT OF MONTHLY NET INCOME
a.    Average monthly income from Line 15 of Schedule I                                                         $                 200.00
b.    Average monthly expenses from Line 18 above                                                               $              14,414.12
c.     Monthly net income (a. minus b.)                                                                         $             -14,214.12
                  Case 8-12-76143-ast           Doc 10       Filed 11/01/12         Entered 11/01/12 12:32:53


B6J (Official Form 6J) (12/07)
 In re    Robert D Villano                                                                    Case No.
                                                                   Debtor(s)                                                 .   "
                                                                                                                                     ,



         SCHEDULE J - CURRENT EXPENDITURES                                      OF INDIVIDUAL DEBTOR(S)

                                                        (Spouse's Schedule)


1. Rent or home mortgage payment (include lot rented for mobile hOme)                                      $        0.00
 a. Are real estate taxes included?                             Yes               No~
 b. Is property insurance included?                             Yes               No~
2. Utilities:      a. Electricity and heating fuel                                                         $     600.00
                   b. Water and sewer                                                                      $        0.00
                   c. Telephone                                                                            $        0.00
                   d. Other See Spouse Detailed Expense Attachment                                         $     .811.00
3. Home maintenance (repairs imd upkeep)                                                                   $      370.00
4. Food                                                                                                    $      400.00
5. Clothing                                                                                                $      100.00
6. Laundry and dry cleaning                                                                                $        0.00
7. Medical and dental expenses                                                                             $        0.00
8. Transportation (not including car payments)                                                             $        0.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                        $       50.00
10. Charitable contributions                                                                               $        0.00
II. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                              $      360.00
                   b. Life                                                                                 $        0.00
                   c. Health                                                                               $        0.00
                   d. Auto                                                                                 $        0.00
                   e. Other                                                                                $        0.00
                                 -------------------------
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)     Real Estate Taxes                                                           $    1,200.00
13. Installment payments: (In chapter 12 and 13 cases, do not list paYments to be included in the plan.)
                   ~A~o                                .                                  '                $        0.00
                   b. Other                                                                                $        0.00
                   c. Other
                                 -------------------------                                                 $        0.00
                                 --------------------------
14. Alimony, maintenance, and support paid to others'                                                      $        0.00
15. Payments for support of additional dependents not living at yOur home                                  $        0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)           $        0.00
17. Other                                                                                                  $        0.00
    Other                                                                                                  $        0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                   $    3.891.001.
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)                 .
19. Describe any increase or decrease in expenditures anticipated to occur within the year following the
filing of this document:
                  Case 8-12-76143-ast    Doc 10    Filed 11/01/12      Entered 11/01/12 12:32:53


B6J (Official Form 6J) (12/07)


. In re   Robert D Villano                                                      Case No.                _
                                                        Debtor(s)


                   SCHEDULE J - CURRENT EXPENDITURES                OF INDIVIDUAL     DEBTOR(S)
                                        Spouse Detailed Expense Attachment

Other Utility Expenditures:
 gas                                                                                       $        45.00
 heating oil                                                                               $       600.00
 cable/phone                                                                               $       166.00
 Total Other Utility Expenditures                                                          $       811.00
                               Case 8-12-76143-ast                                 Doc 10           Filed 11/01/12            Entered 11/01/12 12:32:53


 Form 6 - Statistical Summary (12107)




                                                                            United States Bankruptcy Court
                                                                                   :Eastern District of New York
   In re             Robert D Villano                                                                                                     Case No.                                  _
                                                                                                          Debtor
                                                                                                                                          Chapter              7



                STATISTICAL                         SUMMARY OF CERTAIN LIABILITIES                                            AND RELATED DATA (28 U.S.c. ~159)
            If you are an individual debtor whose debts are primarily consumer debts, as defined in ~ 101(8) of the Bankruptcy Code (II U.S.C.~ 101 (8», filing
            a case under chapter 7, II or 13, you must report all information requested below.

                 o    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                      report any information here.                                                              .

            This information           is for statistical         pur-poses only under 28 U.S.C. ~ 159.
            Summarize          the following types of liabilities, as reported                   in the Schedules,   and total them.


              Type of Liability          !                                                                           Amount

              Domestic Support Obligations (from Schedule E)                                                                       0.00
              Taxes and Certain Other Debts Owed to Governmental                        Units
              (from Schedule E)                                                                                               90,000.00
              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)                                                                   0.00

              Student Loan Obligations (from Schedule F)                                                                           0.00
              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E                                                                               0.00

              Obligations to Pension or Profit-Sharing,               and Other Similar Obligations
              (from Schedule F)                                                                                                    0.00

                                                                                                TOTAL                         90,000.00


              State the following:

              Average Income (from Schedule I, Line 16)                                                                         200.00

              Average Expenses (from Schedule J, Line 18)                                                                     14,414.12
              Current Monthly Income (from Form 22A Line 12; OR,
              Form 228 Line II; OR, Form 22C Line 20)                                                                              0.00


              State the following:
              I. Total from Schedule D, "UNSECURED                      PORTION, IF ANY"
                  column

              2:Total from S~hedule E, "AMOUNT ENTITLED.TO                              PRIORITY"
                  column

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column                                                                                                                 0.00

              4. Total from Schedule F                                                                                                               428,803.00

              5. Total of non-priority unsecured debt (sum of 1,3, and 4)                                                                            702,528.33




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                                  Case 8-12-76143-ast                                  Doc 10           Filed 11/01/12         Entered 11/01/12 12:32:53


B6 Summary         (Official    Form 6 - Summary)         (12107)




                                                                               United States Bankruptcy Court
                                                                                       Eastern District of New York -
  In re              Robert D Villano                                                                                                Case No.                                       _

                                                                                                            Debtor
                                                                                                                                     Chapter                  7




                                                                                    SUMMARY OF SCHEDULES
      Indicate as tO,each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
      B, 0, E, F, I, and J in the boxes provided. Add the amounts from Schedl)les A and B to determine the total amount of the debtor's assets.
      J\dd the amounts of all claims from Schedules 0, E, and F to determine the total amount of the debtor's liabilities. Individual debtors must
      also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, II, or 13.




             NAME OF SCHEDULE                                          ATTACHED                 NO. OF               ASSETS             LIABILITIES            OTHER
                                                                        (YESINO)                SHEETS

A - Real Property                                                              Yes                 1                  1,100,000.00


B - Personal Property                                                          Yes                 4


C - Property Claimed as Exempt                                                 Yes                 1


o - Creditors         Holding Secured Claims                                   Yes                 1

.E - Creditors Holding Unsecured                                              -Yes                 2
     Priority Claims (Total of Claims on               Schedule E)


F - Creditors Holding Unsecured                                                Yes                 3                                            428,803.00
    Nonpriority Claims

G - Executory Contracts and                                                    Yes                 1
    Unexpired Leases -

H - Codebtors                                                                  Yes                 1


I- Current Income of Individual                                                Yes                 1
   Debtor(s)

J - Current Expenditures of Individual                                         Yes                 3
    Debtor(s)

    Total Number of Sheets of ALL Schedules                                                        18


                                                                                            Total "Assets


                                                                                                               Total Liabilities




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